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  2 OGLETREE, DEAKINS, NASH,
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  3 4370 La Jolla Drive, Suite 990
      San Diego, CA 92122
  4 Telephone: 310-217-8191
      Facsimile: 310-217-8184
  5
      Attorneys for Defendant
  6 SOUTHWEST KEY PROGRAMS, INC.

  7

  8                        UNITED STATES DISTRICT COURT
  9                     SOUTHERN DISTRICT OF CALIFORNIA
 10

 11 MARIA HERNANDEZ, an individual;                       '19CV1281 BEN BLM
                                                Case No. __________________
      ROBERTO NAVA, an individual; and
 12 AZAEL SANCHEZ, an individual,               DECLARATION OF LYNE A.
                                                RICHARDSON IN SUPPORT OF
 13               Plaintiff,                    REMOVAL
 14         v.                                  [Filed concurrently with Civil Cover
                                                Sheet, Defendant’s Notice of Removal,
 15 SOUTHWEST KEY PROGRAM,                      Certificate of Interested Parties and
                                                Corporate Disclosure Statement]
 16 INC., a foreign nonprofit; and DOES 1
    through 50,
 17                                             Complaint Filed: June 4, 2019
                  Defendant.                    Trial Date:      None
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                                          1                       Case No. __________________
                   DECLARATION OF LYNE A. RICHARDSON IN SUPPORT OF REMOVAL
Case 3:19-cv-01281-JLS-BLM Document 1-4 Filed 07/10/19 PageID.47 Page 2 of 14



 1        I, Lyne A. Richardson, declare as follows:
 2        1.     I am an attorney licensed to practice before all of the Courts of the
 3   State of California and before the District Court for the Southern District of
 4   California. I am an attorney with the law firm of Ogletree, Deakins, Nash, Smoak
 5   & Stewart P.C., Counsel of record for Southwest Key Programs, Inc.
 6   (“Defendant”). I have personal knowledge of all the facts set forth below, and if
 7   called upon to testify to same, I could and would do so competently and truthfully.
 8        2.     Attached hereto as Exhibit C is a true and correct copy of the
 9   Statement of Information (Foreign Corporation). This document was obtained
10   from the California Secretary of State’s website.        This document shows that
11   Defendant’s principal place of business is in Texas. Attached hereto as Exhibit D is
12   the Restated Certificate of Formation for Southwest Key Programs, Inc. from the
13   Texas Secretary of State which states that it is adopted pursuant to the Texas
14   Business Organization Code and that it is a Texas corporation.
15        3.     On June 10, 2019, Plaintiffs personally served Defendant with the
16   Summons and Complaint.
17        I declare under penalty of perjury that the foregoing is true and correct.
18

19   DATED: July 10, 2019                     OGLETREE, DEAKINS, NASH, SMOAK &
                                              STEWART, P.C.
20

21

22                                            By: /s/ Lyne A. Richardson
                                                  Lyne A. Richardson
23                                                Attorneys for Defendant
                                                  SOUTHWEST KEY PROGRAMS, INC.
24
                                                                                       11348118.1
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                                          2                       Case No. __________________
                  DECLARATION OF LYNE A. RICHARDSON IN SUPPORT OF REMOVAL
Case 3:19-cv-01281-JLS-BLM Document 1-4 Filed 07/10/19 PageID.48 Page 3 of 14




                       EXHIBIT &


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             Case 3:19-cv-01281-JLS-BLM Document 1-4 Filed 07/10/19 PageID.49 Page 4 of 14                                                                    \8-5\5610
                     Secretary of State                                                           51-550
                     Statement of Information
                     (California Stock, Agricultural                                                                                                     FILED
                     Cooperative and Foreign Corporations)                                            114                                          Secretary of State
                                                                                                                                                   State of California

IMPORTANT- Read instructions before completing this form.                                                                                          MAR 14 2018
Fees (Filing plus Disclosure)- $25.00;

Copy Fees - First page $1.00; each attachment page $0.50;
            Certification Fee - $5.00 plus copy fees

1. Corporation Name (Enter the exact name of the corporation as it is recorded with the California
   Secretary of State. Note: If you registered in California using an assumed name, see instructions.)
                                                                                                                          Nf'          This Space For Office Use Only
 Southwest Key Program, Inc.                                                                                             2. 7-Digit Secretary of State File Number


                                                                                                                                                  (1969099
3. Business Addresses
a. Street Address of Principal Executive Office - Do not list a P.O. Box:                                               City (no abbreviations)                        State        Zip Code
 6002 Jain Lane                                                                                                         Austin                                         TX           78721
b. Mailing Address of Corporation, if different than Item 3a                                                            City (no abbreviations)                        State        Zip Code


c. Street Address ct Principal Callfomia Office, if any and if different than Item 3a - Do not list a P .0. Box         City (no abbreviations)                        State        Zip Code
 808 Grayson Road                                                                                                       Pleasant Hill                                  CA           94523
                                          The Corporation is required to list all three of the officers set forth below. An additional title for the Chief Executive Officer and Chief
4. Officers                               Financial Officer may be added; however. the preprinted titles on this form must not be altered.
a. Chief Executive Officer/
Juan
                                            First Name                       l    Middle Name                           last Name
                                                                                                                         Sanchez
                                                                                                                                                                                               l   Suffix

  Address                                                                                                               City (no abbreviations)                        State   I78721
                                                                                                                                                                                    Zip Code
 6002 Jain Lane                                                                                                          Austin                                   I TX
b. Secretary                                First Name                       I Middle Name                              Last Name                                                                  Suffix
 Rachel                                                                                                                  Luna                                                                  I
  Address                                                                                                               City (no abbreviations)                        State    I Zip Code
 6002 Jain Lane                                                                                                         Austin                                     I TX             78721
c. Chief Flnanclal Officer/                 First Name                       I    Middle Name                            Last Name                                                                 Suffix
 Melody                                                                                                                 Chung                                                                  I
   Address                                                                                                              City (no abbreviations)                        State   -1   Zip Code
 6002 Jain Lane                                                                                                         Austin                                     I TX             78721
                                           California Stock and Agricultural Cooperative Corporations ONLY: Item Sa: At least one name and address must be listed. If the
5. Director(s}                             Corporation has additional directors enter the name(s) and addresses on Form Sl-550A (see instructions).
a. First Name
 Orlando
                                                                              l   Middle Name                            Last Name
                                                                                                                         Martinez
                                                                                                                                                                                               l   Suffix


   Address                                                                                                               City (no abbreviations)                   I State I Zip Code
 6002 Jain Lane                                                                                                          Austin                                        TX           78721
b. Number of Vacancies on the Board of Directors, if any
                                                              I             I
6. Service of Process (Must provide either Individual OR Corporation.)


                                                                                                                                         I
     INDIVIDUAL - Complete Items Sa and Sb only. Must include agent's full name and California street address.
a. California Agent's First Name (if agent is not a corporation)                                       Middle Name                           Last Name                                               Suffix
 Kavita                                                                                                                                   Sharma                                               I
b. Street Address (if agent is not a corporation) - Do not enter a P.0. Box                             City (no abbreviations)                                        State    I   Zip Code
 808 Grayson Road                                                                                       Pleasant Hill                                              I    CA          94523
     CORPORATION - Complete Item 6c only. Only include the name of the registered agent Corporation.
c. California Registered Corporate Agent's Name (if agent is a corporation) - Do not complete Item 6a or 6b


7. Type of Business
Describe the type of business or services of the Corporation
 Nonprofit community-based programs
 8. The lnfonnation contained herein, including in any attachments, is true and correct.



  Date
                                   Rachel Luna
                                     Type or Print Name of Person Completing the Form
                                                                                                                       Corp. Secretary
                                                                                                                       Title
                                                                                                                                                         ~rJ21::::====9'=====:::=----'
                                                                                                                                                           Signature

  Sl-550 {REV 01/2017)
                                                                                                 4   1(2-                                                2017 California Secretary of State
                                                                                                                                                            www.sos.ca.9011/business/be
          Case 3:19-cv-01281-JLS-BLM Document 1-4 Filed 07/10/19 PageID.50 Page 5 of 14                                 18-615670
                    Attachment to
                    Statement of Information                         Sl-550A
                    (California Stock and Agricultural             Attachment
                    Cooperative Corporations)

A. Corporation Name

Southwest Key Program, Inc.




B. 7-Digit Secretary of State File Number

                               (1969099                                                                       This Space For Office Use Only

C. List of Additional Director(s)- If the corporation has more than one director, enter the additional directors' names and addresses.

5b     First Name                                                         Middle Name                I Last Name                                      I s,m,
 Anselmo                                                                                                 Villarreal
       Address                                                            City (no abbreviations)                                                 Zip Code

 6002 Jain Lane                                                           Austin
                                                                                                                                   I St~         78721
5c.    First Name                                                         Middle Name                I   Last Name                                    I S"1fi,
 Rosa                                                                                                    Santis
       Address                                                            City (no abbreviations)                                                 Zip Code

 6002 Jain Lane                                                           Austin
                                                                                                                                   I St~         78721
Sd.    First Name                                                         Middle Name                I   Last Name                                    I S"1fi,
 Elizabeth                                                                                               Gonzales
       Address

 6002 Jain Lane
                                                                          City (no abbreviations)

                                                                          Austin
                                                                                                                                   I St~          Zip Code

                                                                                                                                                 78721
5e.    First Name                                                         Middle Name                I   Last Name                                    I s,m,
 David                                                                                                   Marshall
       Address

 6002 Jain Lane
                                                                          City {no abbreviations)

                                                                          Austin
                                                                                                                                   I St~          Zip Code

                                                                                                                                                 78721
Sf.
 Victor
       First Name                                                         Middle Name                I   Last Name
                                                                                                         Garza
                                                                                                                                                      I    S"1fi,


       Address                                                            City (no abbreviations)                                                 Zip Code

 6002 Jain Lane                                                           Austin                                                   I St~         78721
5g.    First Name                                                         Middle Name                I   Last Name                                    I s,ffi,
       Address                                                            City {no abbreviations)                                   I   State     Zip Code



Sh.    First Name                                                         Middle Name                \ Last Name                                      I    S"1fi,


       Address                                                            City (no abbreviations)                                   I State        Zip Code



Si.    First Name                                                         Middle Name                I    Last Name                                    I   Suffix



       Address                                                            City (no abbreviations/                                   I   State      Zip Code



 Sj.   First Name                                                         Middle Name                I    Last Name                                    I   Suffix



       Address                                                             City (no abbreviations)                                  I   State      Zip Code




  Sl-550A- Attachment {EST 11/2016)                                                                                           2016 California Secretary of State
                                                                                                                                 www.sos.ca.gov/business/be
                                                                      5
Case 3:19-cv-01281-JLS-BLM Document 1-4 Filed 07/10/19 PageID.51 Page 6 of 14




                       EXHIBIT '


                                      6
Case 3:19-cv-01281-JLS-BLM Document 1-4 Filed 07/10/19 PageID.52 Page 7 of 14


                        RESTATED Cl!:llTIFICATE OF FOR..l\1ATION                              FI LED
                                                                                       In the Office of the
                                                                                   Secretary of State of Texas
                                                 FOR
                                                                                          JUL 012008
                             SOUTHWEST KEY PROGRAMS, INC.
                                                                                   Corporations Section
                                             MJICLEL

         Southwest Key Programs, Inc. (the "Coq,oration"), pumiant to the relevant provisions of

  the Texas Business Organizations Code, hereby adopts the Restated Certificate of Formation,

  which accurately copies its Articles of Incorporation and all amendments thereto that are in

  effect to date, and as further amended by such Restated Certificate of Fomiation as hereinafter

  set forth, and which cont.a.ins no other change in any provision thereof.

                                             ARTICLE II,
         The Articles of Incorporation of the Corporation, and all llI'lendroetits and supplements
                                                                                          '
  thereto, are hereby superseded by the following Restated Certificate of Formation set forth as

  Jl'.xhjbit A. which accurately copies the entire text thereof: as amended and set forth above.
                                            ARTICLEill.

         The Articles of Incorporation of the Corporation are amended by this Restated Certificate

  of Formation as follows:

         A.      Article II is amended to provide that the Corporation shall have all of the powers.

  duties and responsibilities, as provided in the Texas Business Organizations Code that apply to

  nonprofit corporations, except that the Corporation shall not engage in any activity that would

  jeopardize its tax-exempt status as an organization, as described in Section 50l(c)(3) of the

  Internal Revenue Code of 1986.


                                                                                                   ..      '
                                                                                                   '' ..   ,, .




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  Case 3:19-cv-01281-JLS-BLM Document 1-4 Filed 07/10/19 PageID.53 Page 8 of 14


              B.      Article m is deleted in its entirety to reflect that the Texas Business Organizations

     Code automatically treats a corporation's duration as perp~, unless otherwise provided in the

     governing documents.

              C.      Article IV is restated as Article Ill and amended to better describe the charitable

     pu£pOSeS and mission of the Corporation.

              D.      Article V is deleted in its entirety.

              E.      Article VI is deleted in its entirety. Language regarding restrictions and

     requirements of the Corporation has been included in the iestated Article m.

              F.      Article VII is restated as Article IV.

              G.      Article Vlll is restated as Article V.

              H       Article IX is restated as Article VI and is restated to clarify the powers and

     authority of such directors to alter tbis Certificate of Formation and the Corporation's bylaws.

              I.      Article X is restated as Article VII and amended to clarify the limitations on the

     liabilities of directors.

              K.      Article XI is restated as Article          vm   and   amended to clarify· whom the

     Corporation may indemnify.

              L.      Article XII is deleted in its entirety.

              M.      Article XIII is deleted in its entirety.




                                                  Restated Certificate ofFo.rmation of Southwest Key Programs, Iw:.
                                                                                                       Page2of3

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                                               ARTICLE IV.

              The Cotporalion has no members. Each ammdment made by this Restated Certificate of

     Formation has been effected in oonformity with the provisions of the Texas Business

     Organizations Code, and such Restated •Certificate of Formatioi,, including. each such

     amendment, was duly adopted by a vote of the majority of the board of directors of the

     Corporat:ioo on April 18, 2008.



              I am an officer of the Colporation. and I execute this Restated Certificate of Formation on

     the Corporation's behalf on this 1"' day of July, 2008.



                                                          Southwest Key Programs, Inc.
                                                          A Texas Nonprofit Corporation


                                                          •rfb~~-~
                                                             J . J. s
                                                             President




                                                Restated Certificate offormalion of Southwest Key li'rogr-, Inc.
                                                                                                  . Pagel of3

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                                                      9
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                                            EXHIBIT A



                        RESTATED CERTMCATE OF FORMATION

                                                 OF

                             SOUTHWEST KEY PROGRAMS, INC,



                                            ARTICLE I,
                                               NAME
  1.1    The name of the corporation is Southwest Key Programs, Inc. (the "Corporation").



                                       ARTICLED.
                                 NONPROFIT CORPORA.TION

  2.1    The Corporation is a nonprofit corporation and shall have all of the powers, duties,

  authorizations and responsibilities as provided in the Texas Business Organiza.Uons Code.

  Notwithstanding the foregoing, the Corporation shall neither have nor exercise any power, nor

  engage directly or indirectly in any activity, that would invalidate its status as an organization

  exempt from federal income tax as described in Section S0I(c)(3) of the Internal Revenue Code

  of 1986, as amended, or in any corresponding provision or provisions of any subsequent United

  States Internal Revenue law or laws (the "Code"). Upon its dissolution, all ofthe assets of the

  Corporation will be distributed to an organization exempt from taxes under Section 501(c)(3) of

  the Code. Any such assets not so disposed of shall be disposed of by a court of competent

  jurisdiction of the county in which the principal office of the Corporation is then located,

  exclusively for charitable purposes or to such organization or nrganizafions, as such court shall

  detemtlne, which are organized and operated exclusively fur public charitable purposes.




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                                                  ARTICLEW.
                                                    PURPOSES
     3.1     The Corporation is organized and, at all times hereafter, will be operated exclusively for

     charitable, educational, litmxy and scientific purposes within the meaning of Section 170(c)(2)

     and Section S01(c)(3) of the Code. The nature of the charitable activities to be condw::ted, or the

     purposes to be promoted or carried out by the Corporation include, but axe not limited to, the

     following:

             (1)     To sponsor commun.ity-bued programs that offer alternatives to youth;

             (2)     To promote educational activities;

             (3)     To offer shelter to young and/or elderly persons, either directly at one of the

                     Corporation's facilities or indirccdy by sponsoring housing programs; •

             (4)     To support and/or engage in co!Illllunity and economic development programs;

             (5)     To participate in leadership, development and empowerment initiatives for both

                     individuals and the community;

             (6)     To conduct family-related programs, such as child care mBDagem.ent systems,

                     fatherhood lrllinins 8l'ld foster care; 8l'ld

             (7)     To carry on any other activity or exercise any other power in connection with the

                     foregoing, or otherwise designed to promote the interests of the Corporation, to

                     the extent permitted under Tex.as law and the Code.

     3.2     The Corporation may not take any action that would be inconsistent with the

     requirements of its tax exemption under Section 501(c)(3) of the Code 8l'ld related regulations,

     nilings and procedure.




                                  Exhibit A to tile Restated Certificate of Formation of Southwest l{ey Programs, Inc.
                                                                                                           Page2 ofS

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  3.3    The Corporation is not organized, nor shall it be operated for the primacy purpose of

  generating pecuniary gain or profit. The Corporation may not pay dividends or other corporate

  income to its directors or officers, or otherwise accrue distn'but.able profit$, or. pennit the

  rn,liution of private gain. No part of the net earnings of the Corporation shall inure to the

  benefit of any direct.or of the Corporation, officer of the Corporation, or any private individual,

  except reasonable compensation which may be paid for services rendered to •or fur the

  Corporation affecting one or more of its charitable purposes. No direc10r or officer of the

  Corporation, or any private individual, shall be entitled to share in the distribution of any of the

  corporate assets on dissolution of the Col'poration.

  3.4    No substantial part of the activities of the Corporation shall include the ~ g on of

  propaganda, or otherwise attempting to influence legislation. The Corporation shall not

  participate or intervene in, any political campaign on behalf of, or in opposition to, any candidate

  for public office, including the publication or distribution of statements.


                                             ARnCLEIV.
                                             MEMBERSHIP
  4.1    There will be no members of the Corporation.


                                       ARnCLEV.
                               REGISTERED AGENT AND OFFICE

  5.1    The street address of the registered office of the Corporation is 6002 Jain Lane, Austin,

  Texas 78721, and the name of the registered agent at such address is Juan J. Sanchez.


                                     ARTICLE VI..
                          MANAGING BODY OF THE CORPORATION




                              Exluoit A to the Re!ltaled Certificate of Formation of Southwest Key Programs, Inc.
                                                                                                      Page 3 ofS




                                                    12
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     6.1     The management of the Corporation is vested in its board of directo!13 and such

     committees of the board that lhe board may, from time t.o time, establish. The number of

     directors may be increased or decreased by amending the Corporation's bylaws. The number of

     directors may not be decreased to fewer than specified in the Corporation's byla.ws. The power to

     alt.er, amend or repeal this Restated Certificate of Fonnation and the Corporation's bylaws, and

     to adopt new bylaws, shall be vested in the Corporation's board of directors.

     The board of directors consists of the followi:o.g persons at the present time:

             Oustavo L. Garcia, 6002 Iain Lane Austin, Texas 78721
             Edward L Cline, 6002 Jain Lane Austin, Texas 78721
             Victor Gazza, 6002 Jain Lane Austin, Texas 78721
             Ofelia de los Santos, 6002 Jain Lane Austin, Texas 78721
             Frank Felix, 6002 Jain Lane Austin, Texas 78721
             Otis B. Head, 6002 Jain Lane Austin, Tex.as 78721
             Orlando L. Martinez, 6002 Jain Lane Austin, Texas 78721
             Catherine Pena, 6002 Jain Lane Austin, Texas 78721

                                          ARTICLE VII.
                              LIMITATION ON LIABILITY OF DIRECTORS

             1.1     No member of the board of directors of the Corporation shall be liable, personally

     or otherwise, to the Corporation for monetary damages caused by an act or omission occurring in

     the director's capacity as a director for the Corporation, except as otherwise provided by

     applicable Texas law; provided, however, that this relief from liability shall not apply in any

     instance where such relief is inoonsistent with any provision applicable to corporations described

     in Section 50l(c)(3) of the Code.




                                 E:i:hibit A to the Restated Ccrtificale of Formation of Southwest Key Programs, Inc.
                                                                                                          Page 4ofS

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                                          ARTICLEVDI.
                                        INDEMNIFICATION

  8.1    The board of directors of the Corporation, in its sole discretion, shall have the power on

  behalf of the Corporation t.o indemnify persons for whOIJ'I indemnification is permitted by

  apPlicablc Texas law, to the fullest extent permissible under Texas law and to the extent

  permissible by a tu-exempt orgattilJltioii. described in Section SOl(c)(3) of the Code. Such

  determination regarding requimncnts and limitations of indemnification by the Corporation $hall

  be further specified within the Corporation's bylaws. Additionally, the board of du'ectors may

  purchase such liability, indemnification, and/or other similar insurance as the board of directors

  may, from time to time, deem necessary or appropriate.

         I am an officer of the Corporation and I execute this Restated Certificate of Formation on

  the Corporation's behalf on this 1st day of July, 2008.


                                                        Sollthwest Key Programs, Inc.
                                                        A Texas Nonprofit Corporation


                                                        ·~ rJrL ~-?
                                                           1 .]. S
                                                           President




                             Exhibit A to the Restated Certificare ofForniation of Southwest Key Programs, Inc.
                                                                                                    l'age SofS



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